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                       IN THE UNITED STATES DISTRICT COURT
                                       OF NEW JERSEY


                                             :
UNITED STATES OF AMERICA                     :              Hon. Douglas E. Arpert
       VS.                                   :
ELIZABETH SANCHEZ                            :              Mag. No. 20-14031 (DEA)
                                             :              RELEASE ORDER


       This matter having come before the Court on the application of Andres Jalon, Esquire,
Counsel for Elizabeth Sanchez, without object from the Assistant United States Attorney
Alexander E. Ramey and Intensive Supervision Specialist Edna Galarza,


       IT IS THE FINDING OF THIS COURT, that an order granting defendant release of her
bail conditions for November 24, 2021, from 10:00am to 9:00pm, to allow the defendant,
Elizabeth Sanchez, to attend Thanksgiving festivities at her family’s home, shall issue.


       IT IS ORDERED that the defendant, Elizabeth Sanchez, can attend the Thanksgiving
Holiday with her family, release from 10:00 am and return by 9:00pm to her residence. All other
conditions of bond to remain the same.


                                                                             11/24/2021
                                                     _________________________________
                                                     HONORABLE DOUGLAS E. ARPERT
                                                     UNITED STATES MAGISTRATE JUDGE
